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                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA,                         )
                                                  )
     Plaintiff,                                   )
                                                  )
v.                                                )      Case No. CIV-19-336-G
                                                  )
LAFORGE & BUDD CONSTRUCTION                       )
COMPANY, INC.,                                    )
                                                  )
     Defendant.                                   )

                         JOINT STIPULATION OF DISMISSAL

         Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, and in

accordance with a settlement agreement entered into by the United States and LaForge

and Budd Construction Company, Inc., the parties hereby stipulate to dismissal of the

above-styled action with prejudice.

                                                  Respectfully submitted,

                                                  TIMOTHY J. DOWNING
                                                  United States Attorney

                                                  s/Ronald R. Gallegos
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         Case 5:19-cv-00336-G Document 18 Filed 01/09/20 Page 2 of 2


                                                s/ M. Richard Mullins
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                                                permission of Attorney)
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                           CERTIFICATE OF SERVICE


_X_   I hereby certify that on January 9, 2020, I electronically transmitted the attached
      document to the Clerk of Court using the ECF System. Based on the records
      currently on file, the Clerk of Court will transmit a Notice of Electronic Filing to
      the following ECF registrant:

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      I hereby certify that on January 9, 2020, the attached document was mailed, postage
      prepaid, to the following:



                                                s/ Ronald R. Gallegos
                                                RONALD R. GALLEGOS
                                                Assistant U.S. Attorney




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